    ~                    Case 6:19-cv-01071-AA   Document 19           Filed 08/22/19          Page 1 of 24
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          : C.-S.-S.-C.-P.-S.-G.-P. FLAG OF TIDS DOCUMENT-POSTAL-VESSEL-COURT-VENUE.


    ••    [: FOR THE UNITED STATES DISTRICT COURT WITH THE DISTRICT OF OREGON:]
                                [: OF THE EUGENE-DIVISION:]


    •
    •s
          [: Claimant: James-Brent: Alvarez:]-[: a man:]
          [: c/o 30924 Kenady Lane:]
          [: Cottage Grove, Republic of Oregon [97424]:]
                                                              Case No.: 6:19-cv-01071-AA

                                                              [: AMENDED-INFORMATIONS IN
                                                                 THE NATURE OF A-QUO-WARRANTO-
    ~                                Vs                          COMPLAINT:].

    5     [: University of Oregon:]                           TITLE--42: U.S. CODE ~1983
    ~     [: an Oregon Municipality:]                         [: Civil Action for Deprivation of Rights:].
          [: 1226 Univers_ity of Oregon:]
    5
     ••
          [: Eugene, Oregon 97403-1226:]                      TITLE~42: U.S. CODE ~1985(2)-(3)
                                                              [: Conspiracy to Interfere with Civil Rights:] .
                                     &

    ••    [: U. of 0. Police Department:]
          (an Oregon Municipality)
                                                              TITLE--42: U.S. CODE ~1986
                                                              [: Action for Neglect to Prevent:].

      s   [: 2141 E. 15th Avenue:]
          [: Eugene, Oregon 97403:]
                                                              TITLE~18: U.S. CODE ~2333(a)
                                                              [: Civil Remedies:].
    ~

     ••   [: Luke Sitts:]
                                     &                        Claim: $250,010,000.00 USSD

                                                              Jury Trial: Yes.

    ••    [: an individual:] .
          [: 2141 E. 15th Avenue:]                            [: Steven Barrett:]

    ••    [: Eugene, Oregon 97403:]

                                 &
                                                              [: an individual:]
                                                              [: 2141 E. 15th Avenue:]
                                                              [: Eugene, Oregon 97403:]
I   •

          [: Geri Brooks:]                                                   &
1•        [: an individual:]

    ••    [: 2141 E. 15th Avenue:]
          [: Eugene, Oregon 97403:]
                                                             [: Matthew Carmichael:]
                                                             [: an individual:]
                                                             [: 2141 E. 15th Avenue:]

    •
    ~
          [: Scott Geeting:]
                                 &                           [: Eugene, Oregon 97403:]

                                                                             &
    ~     [: an individual:]
    ~     [: 2141 E. 15th Avenue:]                           [: Michael H. Schill:]
          [: Eugene, Oregon 97403:]                          [: an individual:]
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                                                             [: 1226 University of Oregon 110 Johnson Hall:]
                                                             [: Eugene, Oregon 97403-1226:]
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          Complaint Page-I
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Case 6:19-cv-01071-AA   Document 19       Filed 08/22/19   Page 2 of 24
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        Case 6:19-cv-01071-AA            Document 19        Filed 08/22/19    Page 3 of 24



                                  TITLE---28: U.S. CODE ~1331
                     [: For the jurisdiction-basis is of the federal question:]:

          TITLE--42: USC ~1983, TITLE~42: USC ~1985(3), TITLE 42: USC ~1986,
                                TITLE---18: USC ~2333(a)

                                    TITLE---28: U.S. CODE ~1361
                               [: For the courts-original-jurisdiction:].

                                             [: INDEX:]:

                               [: Written in plain language to assist:].

[: Addendum included for the definitions of grammar being abbreviated: Page-3: ].

[: Closure on styles-manual being used Page-3: ].
[: Laws, Rules and Statutes: Pages-3,4:].

[: Introduction to the complaint: Page-5:).

[: Parties involved: Pages-5:].

[: Facts: Pages-5,6,7,8,9:).

[: Claims for Relief by the C.-S.-S.-C.-P.-S.-G.-P.: Pages-9,10:].

[: Prayer for Relief written in plain language to assist: Pages-10-11:).

[: Affirmation: Page-11:).

[: Attached evidence of claims: Pages 12-57: ].

[: Notice of Estoppel: Pages 12-17:].

[: Final Notice of Default: Pages 18-19:].

[: 2nd Notice of Default: Pages 20-21:].

[: Notice of Default: Pages 22-23:].

[: Contract-Claim-Complaint: 24-35:].

(: Document for Law Enforcement Notice: Page 36-54:].

[: Affidavit of Truth: Pages 55- 58:].




Complaint Page-2
         Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 4 of 24   ••
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                  Case 6:19-cv-01071-AA   Document 19        Filed 08/22/19   Page 5 of 24



                                          : James-Brent: Alvarez.

                                            : POSTMASTER.                         .. ""-r
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;::::::::::
- - - - - - : C.-S.-S.-C.-P.-S.-G.-P. FLAG OF THIS VESSEL: ~RA535207769US.

FLAG OF THE CORRECT-SENTENCE-STRUCTURE-COMMUNICATIONS-PARSE-
SYNTAX-GRAMMAR WITH THE CONTRACTING-PERSONS OF A CONTRACTUAL-
POSTAL-COPORATION.

[: ~RA535207145US ~Cottage Grove ~Oregon ~zip#97424:].
[: PHONE~541-221-6226:].
[: CALLS MAY BE RECORDED:].

                                     [: Addendum for definitions:]:

~ 1: C.-S.-S.-C.-P.-S.-G.-P. = CORRECT-SENTENCE-STRUCTURE-COMMUNICTIONS-PARSE-
SYNTAX-GRAMMAR = no use of boxing=(::] or ()
~2: [: :}& ()=plain language being used= not C.-S.-S.-C.-P.-S.-G.-P.
~3: [: Red Ink:]= the words of a bleeding-complaining-living-man
~4: U.O. = University of Oregon
~5: UOP = University of Oregon Police
~6: UOPD = University of Oregon Police
~7: U.S. = United States
~8: USC= United States Code
~9: USCS = United States Code Section~
~ 10: USSD = United States Silver Dollars
~ 11: RICO= Racketeer Influenced and Corrupt Organizations Act
~ 12: FRCP = Federal Rules of Civil Procedure
~ 13: ORS = Oregon Revised Statute
~ 14: USPS = Unites States Postal Service
~15: D.-C.-C.-S. = document-contract-claims-section
~16: U.C.C. = Uniformed Commercial Code

[: Black's Law Dictionary 4th, 5 th , and 10th edition is used for legal terms-words by claimant:].

[: For the claim with the use of the quantum-languages-violations by the accused:].
[: For the law-violations are with the claim of the law:]:

~Title~42: USCS~1986 [: Knowledge and Stop-Correct-Wrongs:].
~FRCP-26-E: [: Closure:].
~FRCP-9-B: (: Fraud by confession:].
~Title~ 18: USCS~ I 001 & I 002: [: False-statements:].
~Title~l5: USCS~1692E [: Fraud & Misleading Statements:].
~Title~l5: USCS~78 ~ff:[: Penalty: $25,000,000.00:].
~Title~42: USCS~1985-l: [: Conspiracy-Civil:].
~Title~42: USCS~l985-2: [: Obstruction-evidence & Witness:].
~Title~42: USCS~l985-3: [: Depriving Evidence & Witness:].
~Title~l8: USCS~l961: [: RICO:].
Complaint Page-3
Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 6 of 24    ••
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~           Case 6:19-cv-01071-AA           Document 19         Filed 08/22/19      Page 7 of 24
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     ~Title~18: USCS..:.,242: [: Coloring of the Laws= Ailing:].
~
     ~Title~18: USCS~241: [: Criminal-Conspiracy=tort:].
~    ~Title~ 18: USCS~3: [: Criminal-Participation-Knowledge:].
~    ~Title~42: USCS~l983: [: Personal Damages:].
     ~Title~18: USCS~l512: [: Obstruction of the Law:].
~    ~Title~18: USCS~l341: [: Frauds and swindles:].
~    ~Title~18: USCS~l342: [: Fictitious name or address:].
~    ~Title~l8: USCS~241: [: Conspiracy:].
     ~Title~l8: USCS~242: [: Criminal Deprivation of Rights:].
~    ~Title~28: USC~1359: [: Loss ofJurisdiction by Collusion:].
~    ~ORS 352.121 1-(3): [: U. of 0. complaint process:].
     ~ORS 801.305 : [Highway-definition:].
~
     ~U.C.C.~9-102-(23): [: Consumer-goods:].
s
s    : For the Parse-Example of the aiding with the corruption of the start-beginning:
~    ~JUSTICE= Law
~    ~m=no,
~    ~S = Speak,


••   ~Tl =Title,
     ~CE= Judge:= Judge title speaks no law.

     : For the Syntax-Example with the bar-cult:
~
~    1 -2 0 -2 4.9 1 2.8 1 2 = fictitious conveyance of language.

••   No law or fact shall be tried in court. = written in adverb-verb-negative-contract-language = fiction .

     ~ 1 adverb = modifier

•s   ~2 verb= with the modification
     ~3 adjective= opinion= coloring
     ~4 [pro][no][un] =[pro]= no: [no]= no: [un] =no= no-no-no
s,   ~5 [Pre]postion = position               ,
~    ~6 article = lodial
     ~ 7 noun = fact
~    ~8 past-time
~    ~9 future-time
     ~0 conjunction = and is a command: or= option
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     Complaint Page-4
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Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 8 of 24
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••                Case 6:19-cv-01071-AA            Document 19         Filed 08/22/19      Page 9 of 24


••                                                [: INTRODUCTION:]


  ••      ~1: For the de-taining with the coloring of the law and with the harmful-danger of the claimants-life
          by the UOPD-officers .

••        ~2: For the UOPD-officers-libellees- are with the notice of the claimants-contract: for the un-
          lawful-detention and with the will-full-violation of the 4th & 5th -Amendments of the Constitution

 ••       for the Unity~States of the Americas .

          ~3 [: For the claimant-knowledge of the evidence with the record by the libellees using fictitious-

   ••     conveyance of the language for the Claimant. Thus, leading to various and many connected-
          interlocking-directives founded, propagated, brought-forward, and executed in the fraud to


    •
          Claimant's pain and Injury:].


••        ~4: For the libellees with the admission of the truth: For the lack of the performance with the
          unilateral-acceptance-contract by the libellees, and with the guilt of the utilizing with the device-
          fictitious-conveyance of the language for the claimant: For the libellees-potential-un-just-gain and

 ••       with the claimants-pain-injury.



  ••
          ~5: For the libellees are with the tacit-agreement .

          ~6: For the proof of the postal-vessel-service&: Perpetual-claim-number: RA535207168US:].

 ••                                                    [: PARTIES:]


 ••       ~ 7 : For the claimant: James-Brent: Alvarez, is an un-en-franchised-common-law-free-man with the
          Live-Life-Claim: RA535207t45US: For the republic with the city-Cottage Grove of the Unity-
          State-Oregon: For the claimant is a Non-Citizen U.S. National with the passport-designation by the

     ••   U.S. Department of State (INA~34 l-b & TITLE~8: U.S. CODE~ 1452-b): For the Unity-States of
          America and with the territories .


   ••     ~8 [: Accused: University of Oregon, is an Oregon municipality. At all times material, it uses its
          Police Department, with the employees and agents, issuers, and officers therein, to enforce

   ••     corporate-laws and its public-policy using codes and statutes:] .

          ~9 [: Accused: University of Oregon Police Department, is an Oregon municipality. At all times

    ••    material, it uses its agents, issuers, and officers to enforce the corporate-laws and its public-policy
          in violation of the Federal and State Constitutions; versus the public-common-law in accordance
          with the Federal and State Constitutions:].



 ••   •   ~IO [: Accused: Luke Sitts a man, who is an employee at the University of Oregon Police
          Department, in the capacity of a police officer ID-329. While on duty, and at all times material, he
          is outside his official capacity for the U.O.P.D.:].

••        ~ 11 [: Accused: Scott Geeting a man, who is an employee at the University of Oregon Police
          Department, in the capacity of a police officer ID-114. While on duty, and at all times material, he is

  ••      outside his official capacity for the U.O.P.D.:] .



    ••
          ~12 [:Accused: Geri Brooks, a woman, who is an employee at the University of Oregon Police
          Department, in the capacity of a police officer ID-315. While on duty, and at all times material with
          claimant, she is outside her official capacity for the U.O.P.D. :].


   ••     Complaint Page-5


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Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 10 of 24
••                          Case 6:19-cv-01071-AA            Document 19        Filed 08/22/19     Page 11 of 24


i•
:s                   ~ 13 [: Accused: Steven Barrett, a man, who is an employee at the University of Oregon Police


 ••
                     Department, in the capacity of a police officer ID-311. While on duty, and at all times material with
                     claimant, he is outside his official capacity for the U.O.P.D. :] .



••                   ~14[: Accused: Matthew Carmichael, a man who is an employee at the University of Oregon Police
                     Department, with the capacity of the Police-Chief, with the duty for the up-holding of the Federal-
                     State-laws:].

  ••                 ~ 15 [: Accused: Michel H. Schill, with the employment by the University of Oregon, with the
                     capacity of the president: For the handling of the complaints with the police-chief (ORS 352.121 1-

   ••                (3):].

                                                                   [: FACTS:]

    ••               ~16 [: ~15-Januray-2019, for the claimant is traveling with the family-automobile (ARTICLE 9:


     ••
                     U.C.C. ~ 102~23) on the public ways (ORS§ 801.305 "Highway."). The automobile is a black
                     BMW M3, with the production date of 2017:] .



      ••             ~ 17 [: For the lacking of the license-plate with the automobile, and with the detaining of the
                     claimant, for the Oregon-Revised-Statutes, by the UOPD-officer-Sitts. This is near 11 th avenue and
                     Alder street. Time is 12:0lpm:] .

       ••            ~ 18 [: With no-arrest-warrant for the claimant:].


        ••           ~ 19 [: With no-search-warrant for the automobile or the claimant:] .



        ••
                     ~20 [: With the closure and the notice from the claimant, of not using the public-ways for
                     commerce, and that he is a traveler (Black's Law Dictionary 10th Edition pg. 1729): For the
                     claimant is further held for questioning by the UOPD-officer-Sitts. All rights are reserved and no


         ••          rights are waived by claimant. For the UOPD-officer-Luke Sitts has notice. Notice to Principal is
                     Notice to Agent/ Notice to Agent is Notice to Principal:] .
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          ••         ~21 [: UOPD-officer's-Scott Geeting-Geri Brooks-Steven Barrett are on scene within minutes of
                     claimant being stopped by the UOPD-officer-Luke Sitts. They are in position near the windows of
                     the automobile. UOPD-officer Scott Geeting questions the claimant:].

           ••        ~22 [: For the meeting of the minds with the contract-offer: for the civil-damages with the detaining
                     and the violations of the claimants-constitutional-rights with the lacking of the cause or the

            ••       jurisdiction: with the seventeen-page-document and the claimant's-Affidavit of the Truth: For the
                     consideration of the contract offer with the UOPD-officers by the claimants-contract: For the


             ••      Knowledge to Stop-Correct-Wrongs (TITLE~42: USC ~1986):].

                     ~23 [: For the claimants-contract-documents are given to UOPD-officer-Scott Geeting for the

            ••       officer-group-meeting:] .

                     ~24 [: For the acceptance of the first-contract-offer by the UOPD-officers-performance, with the

              ••     further-detaining by the UOPD and with the UOPD-officer-Steven Barrett continuing the
                     questioning of the claimant after the meeting of the minds:] .


               ••    ~25 [: Claimant claims his 6th Amendment right to have council present before answering questions,
                     claims his 5th Amendment right to remain silent, and claims his 4th Amendment right to be free of
                     the un-warranted search and seizure, with the lacking of the probable cause and with the lacking of

                ••   Complaint Page-6


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Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 12 of 24
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••                      Case 6:19-cv-01071-AA               Document 19    Filed 08/22/19      Page 13 of 24


 ••              the oath or affirmation by the courts:].


  ••             ~26 [: Claimant is threatened with having his automobile being towed, unless he provides a driver's
                 license, insurance, and registration to officer-Luke Sitts:].

••               ~27 [: No authorization to remove the automobile from public ways is granted by the claimant:] .


••               ~28 [: UOPD-officer-Luke Sitts informs claimant that UOPD-traffic-citations-documents will be
                 issued to the claimant, and the automobile will be towed to impound:] .


 ••              ~29 [: With the showing of deadly weapons, claimant is ordered out of the automobile by U.O.P.D.
                 officer Luke Sitts. After stopping the recording on his phone and then turning the phone off,


 ••
                 claimant complies and exits the automobile:] .

                 ~30 [: Without placing the claimant under arrest, without communication, without cause to use

  ••             excessive-force, and without warning, the UOPD-officers Luke Sitts, Scott Getting, Steven Barrett,
                 and Geri Brooks attempt to seize claimant with physical force (TITLE~l8: ~1001§ 2331). This
                 causes a scuffle between claimant and UOPD-officers, for the lack of communication of the UOPD-

   ••            officers, constituting no awareness or understanding of the situation by the claimant:] .

                 ~31 [: For the cause of the violence-action by the UOPD-officers, years of combat-training are

    ••           automated and applied without awareness, hesitation, or thought by the claimant:] .

                 ~32 [: Claimant's physical responses are for fear of his life, which he immediately stops (not

   ••            wanting to hurt anyone or be hurt himself) upon awareness of what is happening:] .



    ••           ~33 [: With the use of additional-excessive-force, claimant is shot multiple times with electricity by
                 the UOPD officers Geri Brooks, Steven Barrett, and Luke Sitts. With the claimant stopping his
                 protection of his life (no greater love hath he, then he who would lay down his life for another),

     ••          with the hand signals to stop what they are doing, and by the oral communication from the claimant
                 to stop, using body language to show he is surrendering, the claimant is shot with electricity while
                 he is still being physically assaulted. During the assault, claimant asked for their cause to

     ••          electrocute him once he surrendered his life to them, and after they had assaulted him by slamming
                 him to the ground, and while he is being handcuffed with the officers surrounding, subduing, and
                 still shooting him with electricity. He (claimant) lay face-down on the ground helping the officers,

      ••         by the placing his hands behind his back, and yet, the electrocution of the claimant is continuous.
                 Claimant is told he is under arrest, and read the Miranda-Rights by the UOPD-officers. Time is


       ••        around 12:28pm:] .

                 ~34 [: For the UOPD-officers-search of the automobile with the lack of the warrant-authorization

         ••      and with the violation of the U.S. Constitution-Amendment-IV:] .

                 ~35 [: Claimant is hospitalized and issued five UOP OREGON UNIFORM CITATION AND

        ••       COMPLAINTS-DOCUMENTS (traffic tickets), and charged with three other felonies (interference
                 with a peace officer, resisting arrest, and assault of police officers), by the UOPD-officer-Luke
                 Sitts:] .

          ••     ~36 [:At the hospital, with kidnapping of the claimant, by the UOPD-officer-Luke Sitts. Claimant


           ••
                 asks ifhe is under arrest when being told to exit the automobile. For the officer-Luke Sitts-answer is
                 no. Claimant asks for the cause of the assault, after he exits the automobile. UOPD-officer-Luke
                 Sitts informs claimant that he invoked his right to remain silent, and that they can no longer


            ••   communicate:] .
                 Complaint Page-7


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                                                                       ••••••••••••••••••••••••••••••••••••••.••••
Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 14 of 24




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••                    Case 6:19-cv-01071-AA            Document 19        Filed 08/22/19      Page 15 of 24


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 ••
               ~37 [: With the medical clearance of the hospital, claimant is transferred to the Lane County Jail, by
               the UOPD-officer-Luke Sitts:] .



••             ~38 [: With the witnessing of these events, by the claimant and the UOPD-body-cameras, with the
               date of 15-January-2019:] .


  ••           ~39 [: ~16-January-2019, after one night and two days of false-imprisonment, claimant is dis-
               charged from Lane County Jail, with three pending felony charges, and five UOP OREGON
               UNIFORM CITATION AND COMPLAINTS-CONTRACT-OFFERS:] .

••             ~40 [: ~3-February-2019, five UOP OREGON UNIFORM CITATION AND COMPLAINT-
               DOCUMENTS-CONTRACT-OFFERS are analysed and marked with the use of the contract-laws,

 ••            parse and syntax of the grammar: For the creation of the forensic evidence of the coloring of the
               laws by the UOPD:] .


••             ~41 [: ~3-February-2019, claimant writes an unilateral-contract-claim-complaint (ORS 352.121 1-3),
               of acceptance to settle the UOPD-contract-document-offers, with the conditions of the UOPD-

    ••         performance of stopping and correcting their documents (TITLE~42: USC ~1986), for fraudulent
               and mis-leading statements (TITLE~ 18: USC~ 1001) using :fictitious-conveyance oflanguage with
               the syntax-grammar errors, and with the boxing-errors (Black Law Dictionary 5th Edition-P591),

    ••         and with the fictitious name or address (TITLE~l8: USC ~1342), and otherwise as marked on their
               claims-contract-offers-documents. For the closure (FRCP ~26-e) of the definition for the words of
               the UOPD-documents, as well as which dictionary or styles-manual is being used by the UOPD .

   ••          Furthermore, complete-validation of the claim-charge-debt made, with the sworn evidence they (the
               accused) are acting within their official-capacity, and with the proof of their mandate and bond, the


    ••
               oaths and titles of the parties, and the statutes written in the C.-S.-S.-C.-P.-S.-G.-P. is asked for by
               the claimant. A fee-schedule for having to deal with this matter is instituted by the Claimant, and
               accused are given twenty-one days to respond. Sent USPS by registered mail No. RA535207168US

    ••         to the accused:] .

               ~42 [: ~4-February-2019, Lane County District Attorney-Patricia M. Perlow receives a certified

     ••        copy of the contract-claim sent to the UOPD and the UOPD-officers:].

               ~43 [: ~4-February-2019, Lane County Circuit Court Clerks refuse to file a certified copy of

       ••      contract-claim into the Record. Claiming nothing had been docketed in the matter at this time:].

               ~44 [: ~5-February-2019, claimant appears at the Lane County Circuit Court, per summons of the

      ••       accused's claims-documents. No claims (traffic tickets) are on the docket:] .



        ••
               ~45 [: ~6-February-2019, claimant appears at the Eugene Municipal Court, per summons of
               defendants claims-documents. No claims (traffic tickets) are on the docket:].



       ••      ~46 [: ~7-March-2019, Claimant sends a NOTICE OF DEFAULT to University of Oregon
               President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew
               Carmichael, and University of Oregon Police Officer-Luke Sitts, for failure to stop and correct their

         ••    claims-contracts-documents, or answer back to counter-claims of their fraudulent-statements and
               false-papers with their confession (FRCP 9-B), for their lack of performance of the claimants-
               conditional-acceptance-contract (for the failure to show cause and prove jurisdiction) and with their ·

          ••   performance of the violation of the claimants 4th and 5th Amendments of the Bill of Rights. of the
               claimants-first-contract-offer. Ten days are given for a response. Sent USPS by registered mail No .
               RA535207401US:].

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           •   Complaint Page-8

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Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 16 of 24
••                  Case 6:19-cv-01071-AA           Document 19        Filed 08/22/19      Page 17 of 24


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   ••        ~47 [: ~20-March-2019, Claimant sends a 2nd NOTICE OF DEFAULT to University of Oregon
             President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew
             Carmichael, and UOPD-officer-Luke Sitts, asking them to stop and correct there claims-documents

••           (so the account could be settled), or answer back to counter-claims of false and mis-leading
             statements (TITLE~15: USC~1692-E), and otherwise. Five days are given for a response. Sent
             USPS by registered mail No. RA535207429US:] .

 ••          ~48 [: ~l-April-2019, Claimant sends a FINAL DEFAULT NOTICE to University of Oregon
             President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew

••           Carmicheal, and UOPD-officer-Luke Sitts: for the cause of default by the claims of the UOPD-
             officer-Luke Sitts. They are given 3 days to cure themselves or answer back to counter-claims of


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             fraud and swindles TITLE~18: USC ~1341, and otherwise. Sent USPS by registered mail No .
             RA535207432US:] .

••           ~49 [: ~8-April-2019, Claimant sends a NOTICE OF ESTOPPEL to University of Oregon
             President-Michael H. Schill, University of Oregon Police Department Chief of Police-Matthew

 ••          Carmicheal, and University of Oregon Officer-Luke Sitts, for their failure to answer back to
             claimant of their claims: For the accused are in tacit agreement, and are given the opportunity to


 ••
             remove their unsubstantiated fil-ing under the rule of voluntary removal of frivolous paperwork.
             Thus, curing themselves under the rule of Jeopardy, stopping and correcting themselves from the
             violation of18 USC 1001 & 1001 § 2331, 42 USC 1986, and otherwise:].

 ••          ~50 [: For the accused-performance of the contracts are with the intent-knowing-violating:
             TITLE~42: USC ~1986 and with the lack of the performance for the ORS 352.121 1-3: For the

 ••          U.O.-president-Micheael H. Schill and with the UOPD-Chief of Police-Matthew Carmicheal, and
             with the UOPD-officers are committing TITLE~42: USC ~1985-3 -Deprivation of the claimants-
             Rights with the lack of the evidence and with the depriving of the witness, because of their violation

  ••         ofTITLE~18: USC ~1001 & ~1001~2331 Therefore, violating TITLE~18: USC ~1961-
             Racketeering activity, for the cause of the TITLE~42: USC ~ 1985-2 - Obstruction of the Justice,
             therefore causing TITLE~42: USC ~1983 - Civil Deprivation of the Rights, and with the personal-

   ••
,.
             injury, by the violation of the TITLE~42: USC 1983 - Note 319 & Note 337 -Custom & Policy
             under their TITLE~l8: USC ~241 - for the conspiracy with the coloring of the law, causing the


    •        TITLE~ 18: USC ~242 - for the Criminal-Deprivation of the claimants-Rights, and with the
             TITLE~l8: USC ~872- Collusion/ Coercion, for the TITLE~18: USC ~1512-Criminal-
             Obstruction of the Justice, thus leading to a TITLE~28: USC ~1359- Loss of the Jurisdiction by

    ••       their Collusion, all while operating under the TITLE~4: ~CH~ 1 - Desecration of the flag by the
             University of Oregon and the UOPD with the UOPD-officers:].


    ••       ~51 [: The NOTICE OF ESTOPPEL has a FINIAL TRUE BILL for defendants, for the fee
             schedule ($500.00 USD x 16 hrs) is $8,000.00 USSD. Plus, expenses for postage $100.00 USSD,
             transportation $100.00 USSD, medical bills from the hospital visit day of the incident $1,800.00

     ••      USSD, property housed (automobile and myself) $15,000,000.00 USSD, emotional-mental-physical
             harm $10,000,000.00 USSD, fines relating to federal laws (USC 15 ~78ft) $25,000,000.00 USSD,


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             and punitive damages in the amount of $200,000,000.00 USSD, for a total of $250,010,000.00
             USSD. Sent USPS by registered mail No. RA535207809US:] .



       ••     : FOR THE FRIST-SECOND-CLAIM OF THE RELIEF: FOR THE VIOLATION OF THE
                        TITLE~42: ~1983 AND WITH THE TITLE~18 USC ~1985(2)-(3):


        ••   ~52: FOR THE DEPRIVING OF THE CLAIMANTS-CONSITUTIONAL-RIGHTS, AND WITH
             THE COLORING OF THE LAW WITH THE USE OF THE FRAUDULANT-OREGON-


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             Complaint Page-9

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Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 18 of 24
 ••                       Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 19 of 24


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                    STATUTES, AND WITH THE CONSPIRACY WITH THE FALSE AND MIS-LEADING
                    STATEMENTS AND WITH THE DEPRIVING THE CLAIMANT OF THE EVIDENCE AND A
                    WITNESS BY THE U.O.-UOPD-OFFICERS: FOR THE CIVIL REMEDY IS $50,010,000.00
                    USSD .



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                      : FOR THE THIRD-CLAIM OF THE RELIEF: FOR THE VIOLATION OF TITLE--42:
                                                    ~1986:



  ••                ~53: FOR THE CHANGING-FACTS INTO THE VERBS, PRONOUNS AND ADJECTIVES ARE
                    WITH THEE DAMAGE-CLAIM OF THE FICTIONAL-SYNTAX-MODIFICATIONS,
                    CORRUPT-AUTHORITIES, AND FRAUDULANT-SYNTAX OF THE GRAMMAR-

   ••               LANGUAGE-CLAIMS WITH THE STEALING, THEFT, TORT, BEZZLEMENT AND RAPE OF
                    THE EQUITY, FREEDOMS AND COMMUNICATION-LANGUAGE-CLAIMS OF THE
                    CLAIMANT.

  ••                ~54: FOR THE FICTIONAL-SYNTAX-MODIFICATIONS OF THE FACT (LANGUAGE) IS
                    WITH THE DAMAGE-CLAIMS OF THE PERSON'S-KNOWLEDGE OF THE FOLLOWING:

    ••              ~55: FOR THE WORD-TERM: PERSON: FORA CONTRACT-PERSON'S-VOLITION OF THE


      ••            FIRST-PART-"OFFER" IS WITH A CONTRACT-PERSON-DUTY OF THE SECOND-PART
                    WITH THE JOINING BY A CORPORATION-CONTRACT.



    ••              ~56: FOR THE CLAIMANT'S-KNOWLEDGE OF THESE FACTS IS WITH THESE CLAIMS
                    OF THESE RULES WITH THE CLOSURE: CONTRACT-CLAIM, WITH THE CLAIMANT'S-
                    KNOWLEDGE OF THESE FACTS ARE WITH THE CLAIMS OF THESE COMMUNICATION-

     ••             LANGUAGE-METHOD WITH THE FICTONAL-LANGUAGE-METHOD-FRUAD BY THE
                    U.-O.-P.-D .


       ••            ~57: FOR THIS PARTY'S-KNOWLEDGE OF THESE CONTRACT-COMPLAINTS ARE WITH
                    THIS CLAIM OF THE OPEN-MARKET-FILING[COURT]. FOR THIS PERSON'S-


        ••
                    KNOWLEDGE OF THESE FACTS ARE WITH THESE CLAIMS OF THE CLOSURE OF THE
                    FACTS:



        ••           ~58: FOR A PERSON'S-KNOWLEDGE OF THESE FACTS ARE WITH THE CLAIM OF THE
                    PORTING WITH THESE CORRECTIONS-AUTHORITY BY THE TITLE--42: ~1986:
                    KNOWLEDGE OF THE PARSE-SYNTAX-GRAMMAR AND CORRECTION OF THE

         ••         FICTIONAL-SYNTAX-LANGUAGE .

                    ~58: FOR THE KNOWLEDGE OF THE WRITING-COMMUNICATION-LAW ARE WITH

          ••        THESE CLAIMS OF THESE CORRECTIONS WITH THESE WRITING-FICTIONAL-
                    MODIFICATION-WRONGS BY THESE PERSONS: UNIVERSITY OF OREGON AND ITS
                    POLICE DEPARTMENT.

           ••       ~60: FOR THIS PERSON'S-KNOWLEDGE OF A TORT IS WITH THE DAMAGE-CLAIMS OF


            ••
                    A JURISDICTION-MATIER WITH A VOLITION OF THE SYNTAX-WORD-FALSIFICATION
                    WITH THE CONCEALING OR WITH A COVERING-UP BY A TRICK, SCHEME OR BY A
                    VICE OF THE MATERIAL-FACT, OR WITH THE MAKING OF A FALSE-STATEMENT OR

             ••     BY THE FICTITIOUS-STATEMENT OR WITH THE FALSE-WRITINGS OR WITH THE
                    FALSE-DOCUMENTS BY THE KNOWLEDGE OF A FALSE-DOCUMENT WITH THE FINE
                    OF THE TITLE: D.-C.-C.-S.~15-CH-2B, SECTION 78ff: $5-MILLION-PRIVATE, $25-

              ••    MILLION-CORPORATION AND 30-YEARS-PRISON OR BOTH.



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                    Complaint Page-10
Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 20 of 24
••                      Case 6:19-cv-01071-AA            Document 19   Filed 08/22/19     Page 21 of 24


 ••              ~61: FOR THE FICTIONAL-GRAMMAR: TITLE~18: DOCUMENT-CONTRACT-CLAIMS-


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                 SECTION~1001: FOR THE PERSON'S-KNOWLEDGE OF THESE FACTS ARE WITH THESE
                 VOLITION-CLAIMS OF THE FRAUDULANT-UOPD-DOCUMENTS, OR WITH THESE
                 FALSE-FORGERIES-COUNTERFEIT-WRITINGS BY THE UOPD-OFFICER-Luke Sitts .

                 ~62: FOR THE PERSON'S-KNOWLEDGE OF THE DOCUMENT-CONTRACT-

•
••
                 CORPORATION-VESSEL: FOR THE CLAIMS OF THIS CONTRACT-VESSEL-DOCUMENT
                 IS WITH THE WITNESSING-CLAIMS OF THE CORRECT-SYNTAX-COMMUNICATIONS-
                 LANGUAGE WITH THE PERSON/WITNESS/CLAIMANTS-KNOWLEDGE OF THESE
                 FACTS WITH THE DAMAGE-CLAIM OF THE TITLE~42: DOCUMENT-CONTRACT-

 ••              CLAIMS-SECTION~ 1986 WITH THE SYNTAX-LAWS WITH THE DOCUMENT-
                 CONTRACT-CLAIMS, AND BY THE FRAUD WITH THE CLOSURE BY THE HEREIN-
                 STATEMENTS .

  ••             ~63: FOR THIS CLAIMANT'S-KNOWLDEGE OF THESE FACTS ARE WITH THESE

   ••            VOLITION-CLAIMS WITH THE NEGLIGENCE OF THE FEDERAL AND STATE LAWS BY
                 THE OFFICERS OF THE UOPD WITH THE VOLATIONS OF FEDERAL AND STATE LAWS .


    ••           ~64: FOR THE NEGLIGENCE OF THE U.-O.-P.-D. OFFICERS AND SUPERVISORS, $200-
                 MILLION UNITED STATES DOLLARS IS FOR THE FINE, WITH THE MONEIES PAYING
                 FOR THE EDUCATING OF THE FEDERAL AND STATE CONSTITUTIONS AND THEIR

     ••          BILLS OF RIGHTS OF THE UNION-STATE OREGON AND ITS TERRITORIES: FOR THE
                 EDUCATING AND TRAINING OF ALL LAW ENFORCEMENT WHO ARE WITHIN THE
                 UNION-STATE OREGON AND ITS TERRITORIES .

    ••           [: FOR THE FOURTH-CLAIM OF THE RELIEF: FOR THE VIOLATION OF THE


    ••           TITLE~18 ~2333(a):]

                 ~65: FOR THE INTERNATIONAL-TERRORISM :TITLE~ 18: DOCUMENT-CONTRACT-

      ••         CLAIMS-SECTION~2333(a): FOR THIS CLAIMANT'S-KNOWLEDGE OF THESE FACTS
                 ARE WITH THESE VOLITION-CLAIMS OF THE RAPE OF THE FEDERAL AND STATE
                 LAWS PROTECTING THE LIBERTIES, FREEDOMS, AND RIGHTS OF CLAIMANT, BY THE

       ••        COLORING OF THE LAW WITH THE DISCRIMINATION OF THE NON-CITIZEN U.S .
                 NATIONAL-CLAIMANT, WITH THE USE OF EXCESSIVE AND HARMFUL FORCE OF
                 LIFE, BY THE UNIVERSITY OF OREGON AND ITS POLICE DEPARTMENT, WITH THE

        ••       AGENTS-ISSUERS-OFFICERS .



         ••
                 ~66: FOR THE CLAIMANT'S VOLITION-CLAIM OF THE PAIN AND SUFFERING, FOR THE
                 KIDNAPPING, WITH THE FALSE-IMPRISONMENT, AND THE INJURIES: FOR THE CAUSE
                 OF THE EMOTIONAL-MENTAL-PHYSICAL HARM, AND EXPENSES, BY THE U.O.-UOPD-

          ••     OFFICERS: FOR THE CLAIMANT IS ASKING FOR THE FINE OF THREE TIMES THE
                 DAMAGES AND FOR THE COST OF THE SUIT, AND WITH THE COVERING OF THE
                 ATTORNEY FEES .

          ••                                          [: PRAYER FOR RELIEF:]


           ••    ~67 [: For the claimant is seeking relief:]:

                  1. [: Judgement in his favor for monetary damages in the amount of $50,010,000.00 USSD: For the

            ••   conspiracy (TITLE~42: USC ~1985-2 & 3) with the coloring of the laws (TITLE~18: USC ~1983),
                 and with the knowledge to stop-correct (TITLE~42: USC ~1986), and for the in-jury of
                 international-terrorism (TITLE~18: USC ~2333-a) with the cause of the harm dangerous to the
             s
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                 Complaint Page-11
Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 22 of 24
           ••              Case 6:19-cv-01071-AA           Document 19         Filed 08/22/19      Page 23 of 24


            ••     claimants-life, and with the false-mis-leading-statements-documents-papers, and with the
                   kidnapping by the false-imprisonment of the claimant and the private property (automobile), for the
 ~

           ••
                   emotional-mental-physical trauma of the health of the claimant and of the family (wife and
                   daughter), and for the violations of the Federal-State-laws:] .



          •,.      2. [: Judgment in his favor for monetary damages in the amount of$200,000,000.00 USSD, to be
                   placed in a trust overseen by the Union State Oregon and its Attorney General (currently Ellen F.
                   Rosenblum #753239), and to be used for the education and training of all law enforcement on the


      ••           Federal and State laws, to prevent any further injury to the people of the Union-State Oregon and its
                   territories:].


  ••               3. [: With the removing of all pending charges against claimant in any related matters, by the Lane
                   County District Attorney's Office, with the removing of the incident off all public platforms, and
                   otherwise:].

       ••          ~68 [: Any other relief the court deems is just and equitable given the circumstances:] .


        ••                                                  [: AFFIRMATION:]



         ••        ~69 [: For the person :James-Brent: Alvarez.: for the being of the sound-mind with the age of the
                   21 st-year+, capable, and with the first-hand-knowledge of the facts here in, do here by tell the truth,
                   the whole truth and nothing but the truth and herein say, saith, declare, proclaim, and claim as

  ••               follows:]:

                     ~ 70 [: Federal Rules of Civil Procedure 11, I, :James-Brent: Alvarez., certify to the best of my

  ••             · · belief, information, knowledge, and understanding that this complaint: (1) is not being presented for
                     an improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
                     litigation; (2) is supported by existing law or by a non-frivolous argument for extending, modifying,

   ••                or reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
                     identified, will likely have evidentiary support after a reasonable opportunity for further


   ••
                     investigation or discovery; (4) the complaint otherwise complies with the requirements of FRCP
                     RULE 11:] .

                   [: Live-Life Claimant-Autograph&: Seal: 'CSG-M-lD- ~~: A\v~'fC't .
    ••             [: James-Brent: Alvarez:].[: for the estate named ALVAREZ, James Brent:] .
                   [:copy-right/copy-claim:].[: With the reservation of rights:].

     ••            [: Proof of the postal-vessel-complaint-service: RA535207769US:] .
                   [: Date: ~4-July-2019:] .


••                 [:Witness-Autograph&: Seal:
                   [: copy-right/copy-claim:].      0
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                   [: Date: ~4-July-2019:].

                   [:Witness-Autograph&: Seal:~~=-=.--~=---------

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                   [: Date: ~4-July-2019:].
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 s         •       Complaint Page-12
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Case 6:19-cv-01071-AA   Document 19   Filed 08/22/19   Page 24 of 24




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